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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________
                                           :
SECURITIES AND EXCHANGE                    :
COMMISSION,                                :
                                           :
                         Plaintiff,        :
                                           :
                  v.                       :
                                           :
                                           :
MAGDALENA TAVELLA,                         :
ANDRES HORACIO FICICCHIA, GONZALO          :              Civil Action No. 13-CIV-4609 (NRB)
GARCIA BLAYA, LUCIA MARIANA                :
HERNANDO, CECILIA DE LORENZO,              :              Judge Naomi Reice Buchwald
ADRIANA ROSA BAGATTIN,                     :
DANIELA PATRICIA GOLDMAN,                  :              NOTICE OF FILING OF STIPULATION
MARIANO PABLO FERRARI,                     :
MARIANO GRACIARENA, and                    :
FERNANDO LOUREYRO,                         :
                                           :
                         Defendants.       :
__________________________________________ :


          PLEASE TAKE NOTICE that Plaintiff, Securities and Exchange Commission, has filed

the Stipulation for entry of an order granting a preliminary injunction, asset freeze and other

relief.

Dated: July 16, 2013                          Respectfully submitted,

                                                     /s/ David J. Gottesman
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